$2 5HY 'HWHQWLRQ2UGHU3HQGLQJ7ULDO0,:' 5HY
                        Case 1:12-cr-00101-JTN                                  ECF No. 25, PageID.75                                   Filed 05/29/12                     Page 1 of 1
                                    UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN

                             8QLWHG6WDWHVRI$PHULFD                                                                      ORDER OF DETENTION PENDING TRIAL
                                                Y
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                                     Jarod Jackson                                                                         &DVH1R 1:12 CR 101
                                             Defendant


            $IWHUFRQGXFWLQJDGHWHQWLRQKHDULQJXQGHUWKH%DLO5HIRUP$FW86& I ,FRQFOXGHWKDWWKHVHIDFWVUHTXLUH
WKDWWKHGHIHQGDQWEHGHWDLQHGSHQGLQJWULDO
                                                                                  Part I±Findings of Fact
  7KHGHIHQGDQWLVFKDUJHGZLWKDQRIIHQVHGHVFULEHGLQ86& I  DQGKDVSUHYLRXVO\EHHQFRQYLFWHGRI
               DIHGHUDORIIHQVHDVWDWHRUORFDORIIHQVHWKDWZRXOGKDYHEHHQDIHGHUDORIIHQVHLIIHGHUDOMXULVGLFWLRQKDG
               H[LVWHG±WKDWLV
                DFULPHRIYLROHQFHDVGHILQHGLQ86& D  RUDQRIIHQVHOLVWHGLQ86&E J  % IRU
                        ZKLFKWKHSULVRQWHUPLV\HDUVRUPRUH
                DQRIIHQVHIRUZKLFKWKHPD[LPXPVHQWHQFHLVGHDWKRUOLIHLPSULVRQPHQW
                DQRIIHQVHIRUZKLFKDPD[LPXPSULVRQWHUPRIWHQ\HDUVRUPRUHLVSUHVFULEHGLQ
                        
                DIHORQ\FRPPLWWHGDIWHUWKHGHIHQGDQWKDGEHHQFRQYLFWHGRIWZRRUPRUHSULRUIHGHUDORIIHQVHVGHVFULEHGLQ
                        86& I  $  & RUFRPSDUDEOHVWDWHRUORFDORIIHQVHV
                DQ\IHORQ\WKDWLVQRWDFULPHRIYLROHQFHEXWLQYROYHV
                                 DPLQRUYLFWLP
                                   WKHSRVVHVVLRQRUXVHRIDILUHDUPRUGHVWUXFWLYHGHYLFHRUDQ\RWKHUGDQJHURXVZHDSRQ
                                   DIDLOXUHWRUHJLVWHUXQGHU86&
  7KHRIIHQVHGHVFULEHGLQILQGLQJ  ZDVFRPPLWWHGZKLOHWKHGHIHQGDQWZDVRQUHOHDVHSHQGLQJWULDOIRUDIHGHUDOVWDWH
               RUORFDORIIHQVH
  $SHULRGRIOHVVWKDQ\HDUVKDVHODSVHGVLQFHWKHGDWHRIFRQYLFWLRQGHIHQGDQW¶VUHOHDVHIURPSULVRQIRUWKH
               RIIHQVHGHVFULEHGLQILQGLQJ  
  )LQGLQJV    DQG  HVWDEOLVKDUHEXWWDEOHSUHVXPSWLRQWKDWQRFRQGLWLRQZLOOUHDVRQDEO\DVVXUHWKHVDIHW\RIDQRWKHU
               SHUVRQRUWKHFRPPXQLW\,IXUWKHUILQGWKDWGHIHQGDQWKDVQRWUHEXWWHGWKDWSUHVXPSWLRQ
                                                                                  Alternative Findings (A)
  7KHUHLVSUREDEOHFDXVHWREHOLHYHWKDWWKHGHIHQGDQWKDVFRPPLWWHGDQRIIHQVH
                IRUZKLFKDPD[LPXPSULVRQWHUPRIWHQ\HDUVRUPRUHLVSUHVFULEHGLQ
                        
                XQGHU86& F 
  7KHGHIHQGDQWKDVQRWUHEXWWHGWKHSUHVXPSWLRQHVWDEOLVKHGE\ILQGLQJ  WKDWQRFRQGLWLRQRUFRPELQDWLRQRIFRQGLWLRQV
               ZLOOUHDVRQDEO\DVVXUHWKHGHIHQGDQW¶VDSSHDUDQFHDQGWKHVDIHW\RIWKHFRPPXQLW\
                                                                                  Alternative Findings (B)
  ✔  7KHUHLVDVHULRXVULVNWKDWWKHGHIHQGDQWZLOOQRWDSSHDU

  7KHUHLVDVHULRXVULVNWKDWWKHGHIHQGDQWZLOOHQGDQJHUWKHVDIHW\RIDQRWKHUSHUVRQRUWKHFRPPXQLW\
                                                             Part II – Statement of the Reasons for Detention
            ,ILQGWKDWWKHWHVWLPRQ\DQGLQIRUPDWLRQVXEPLWWHGDWWKHGHWHQWLRQKHDULQJHVWDEOLVKHVE\FOHDUDQGFRQYLQFLQJ
                ✔
HYLGHQFHDSUHSRQGHUDQFHRIWKHHYLGHQFHWKDW
  defendant is a 28 year old resident of Florida. He has no ties to this district. He has a minimal employment history.
  Defendant's criminal history spans 10 years and features numerous arrests and two felony convictions. He has 9 documented
  failures to appear, with some indication that there may be as many as 20. He has spent time in jail for probation violation. He
  has a history of using false IDs, resisting arrest and lying to police about his identity. The defendant's history reflects a lack of
  trustworthiness for bond that has never been adequately addressed in the past by conditions of release.


                                               Part III – Directions Regarding Detention
         7KHGHIHQGDQWLVFRPPLWWHGWRWKHFXVWRG\RIWKH$WWRUQH\*HQHUDORUDGHVLJQDWHGUHSUHVHQWDWLYHIRUFRQILQHPHQWLQD
FRUUHFWLRQVIDFLOLW\VHSDUDWHWRWKHH[WHQWSUDFWLFDEOHIURPSHUVRQVDZDLWLQJRUVHUYLQJVHQWHQFHVRUKHOGLQFXVWRG\SHQGLQJ
DSSHDO7KHGHIHQGDQWPXVWEHDIIRUGHGDUHDVRQDEOHRSSRUWXQLW\WRFRQVXOWSULYDWHO\ZLWKGHIHQVHFRXQVHO2QRUGHURI8QLWHG
6WDWHV&RXUWRURQUHTXHVWRIDQDWWRUQH\IRUWKH*RYHUQPHQWWKHSHUVRQLQFKDUJHRIWKHFRUUHFWLRQVIDFLOLW\PXVWGHOLYHUWKH
GHIHQGDQWWRWKH8QLWHG6WDWHVPDUVKDOIRUDFRXUWDSSHDUDQFH
 Date:                  May 29, 2012                                                Judge’s Signature: /s/ Joseph G. Scoville
                                                                                        Name and Title: Joseph G. Scoville, U.S. Magistrate Judge

 ,QVHUWDVDSSOLFDEOH D &RQWUROOHG6XEVWDQFHV$FW 86&HWVHT  E &RQWUROOHG6XEVWDQFHV,PSRUWDQG([SRUW$FW 86&HWVHT RU F 6HFWLRQRI$FWRI6HSW 86&D 
